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Civil No. 8116-CV-01257-BRO

 

UNITED STATES DISTRICT COURT
CENTRAL ])ISTRICT OF CALIFORNIA

 

fn re: JAY W. AND DEBRA JOHNSON, Debtors,
Chapter 7 Bankr'uptcy Court Case No. 8:06-bk-10373 ES

 

JAY W. JOI-]NSON, et al., Appellants
vs.
ROSENDO GONZALEZ, et al., Appellees.

Adversary Proceeding Case Numbers 8:06-ap-1313 ES and
8:06-ap-1311 ES (Consolidated)

 

On Appeal from the Order of the United States Bankruptcy Court,
The Honorable Erithe A. Smith, United States Bankl'uptcy Judge

 

APPELLEES’ CERTIFICATION OF INTERESTED PARTIES
SUBMITTED CONCURRENTLY WITH APPELLEES’
RESPONSE BRIEF

 

J ames Andrew Hinds, Jr. (SBN 71222)
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CERTIFICATION AS TO INTERESTED PARTIES
Filed in conjunction With Appellees’ Response Brief pursuant to
C.D. Cal. L. Bankr.R.Z.B (8012) (Local Civil rule 7.l-i):
The undersigned, counsel of record for the plaintiff, Rosendo Gonzalez,
Chapter 7 Trustee, certifies that the following listed parties may have a pecuniary
interest in the outcome of this case. These representations are made to enable the

Court to evaluate possible disqualification or recusal:

Rosendo Gonzalez - Plaintiff, Chapter 7 Trustee
J ames Andrew Hinds, Jr., Esq. - Attorney for Piaintiff, Rosendo Gonzalez,
Chapter 7 Trustee
H[NDS & SHANKMAN, LLP - Attorney for Plaintiff, Rosendo Gonzalez,
Chapter 7 Trustee
J ay W. Johnson - Defendant
Debra F. Johnson - Defendant
Randal A. Johnson - Defendant
Robin Lister Johnson - Defendant
Q Financial Group, LLC - Defendant
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Burton V. McCullough, Esq. »~ Attorney for Defendants
Richard A. Lapides - Creditor of 5 ay and Debra Johnson
Janis T. Lapides - Spouse of Richard Lapides

Dated: October 6, 2016
Respectfully Su‘omitted,

JAMES ANDREW HINDS, JR.
PAUL R. SHANKMAN
RACHEL M. SPOSATO _ `
H[NDS & SHANKMAN, LLP

ByW)\/\/bvv /\\»A»»~l/ -

JAl\U S ANDR_EW HINDS, ' .,
Attorneys for Appellees Rosendo Gonzalez,
Chapter 7 Trustee, J ames AndreW Hinds, Jr.,
Esq., and HINDS & SHANKMAN, LLP

  
  

 

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PROOF OF SERVICE

l am employed in the County of Los Angeles, State of California. l am over
the age of 18 and not a party to the within action. My business address is 21257
Hawthorne Blvd., Second Floor, Torrance, California 905 03.

On October 6, 2016, I served the following document described as
APPELLEES’ CERTIFICATION OF INTERESTE}) PARTIES
SUBMITTED CONCURRENTLY WITH APPELLEES’ RESP()NSE BRIEF
on all other parties to this action by placing a true copy of the above document
enclosed in a sealed envelope addressed as follows:

SEE ATTACHED SERVICE LIST

/XX/ BY OVERNIGHT MAIL - I placed each such sealed envelope,
postage thereon fully prepaid for first-class mail, for coilection and mailing at
21515 Hawthorne Blvd., Suite 1150, Torrance, California 905 03, following
ordinary business practices I arn familiar with the practice of Hinds & Shankman,
LLP for collection and processing of correspondence, said practice being that in
the ordinary course of business, correspondence is deposited in the United States
Postal Service the same day as it is placed for collection.

/XX/ BY MAIL - l placed each such sealed envelope, postage thereon fully
prepaid for first-class maii, for collection and mailing at 21515 Hawthorne Blvd.,
Suite 1150, Torrance, California 90503, following ordinary business practices. I
am familiar with the practice of Hinds & Shankrnan, LLP for collection and
processing of correspondence, said practice being that in the ordinary course of
business, correspondence is deposited in the United States Postal Service the same
day as it is placed for collection.

/XX/ BY COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

1 declare under penalty of perjury and the laws of the State of California that
the above is true and correct.

Executed on this 6th day of October 2016, at Torrance, California.

W<»/
_/

MAYRA DURAN

 

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United States District Court Judge
United States Courthouse

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